





















Opinion issued August 5, 2010



In The

Court of
Appeals

For The

First District
of Texas

————————————

NO. 01-10-00544-CR

———————————

Benjamin Shawn Campbell, Appellant

V.

The State of
Texas, Appellee



&nbsp;



&nbsp;

On Appeal from the 185th District Court

Harris County, Texas



Trial Court Case No. 1244384

&nbsp;



&nbsp;

MEMORANDUM OPINION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We lack jurisdiction to hear this
appeal.&nbsp; Appellant, Benjamin Shawn
Campbell, pleaded guilty to the offense of assault on a family member,[1]
and in accordance with his plea bargain agreement with the State, the trial
court deferred a finding of guilt and placed appellant on community supervision
for a period of five years and assessed a $100 fine.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; After the trial court sentenced appellant to punishment
that fell within the terms of the plea bargain agreement, the trial court
certified that this case is a plea-bargain case and the defendant has no right
to appeal.&nbsp; Appellant did not request the
trial court's permission to appeal any pre-trial matters, and the trial court
did not give permission for appellant to appeal.&nbsp; Appellant filed a timely pro se notice of
appeal.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;The certification
that appellant has no right of appeal, as shown on the “Trial Court’s
Certification of Right of Appeal” form signed by the trial court, is supported
by the record that shows that appellant has no right of appeal due to the
agreed plea bargain.&nbsp; Tex. R. App. P. 25.2(a).&nbsp; Because appellant has no right of appeal, we
must dismiss this appeal "without further action."&nbsp; Chavez
v. State, 183 S.W.3d 675, 680 (Tex.Crim.App. 2006).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Accordingly, the appeal is dismissed
for lack of jurisdiction.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We deny any pending motions as moot. 

PER CURIAM

Panel
consists of Chief Justice Radack and Justices Bland and Sharp.

Do
not publish.&nbsp; &nbsp;Tex. R. App. P. 47.2(b).











[1] &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Tex. Penal Code Ann. § 22.01(b) (2)(B) (Vernon Supp.
2009).







